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 1   LAW OFFICES OF CHRIS COSCA
     CHRISthCOSCA        CA SBN 144546
 2   1007 7 Street, Suite 210
     Sacramento, CA 95814
 3   (916) 440-1010
 4   Attorney for Defendant
     VLADISLAV ATAMANYUK
 5

 6

 7

 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        )   2:14-CR-0198 TLN
                                                      )
13                   Plaintiff,                       )   WAIVER OF DEFENDANT’S
                                                      )   APPEARANCE AND ORDER
14          vs.                                       )
                                                      )
15   VLADISLAV ATAMANYUK,                             )
                                                      )
16                                                    )
                                                      )
17                   Defendant.                       )
                                                      )
18                                                    )

19
            Defendant VLADISLAV ATAMANYUK hereby waives his right to be personally
20
     present in open court for the hearing of any status conference, motion or other proceeding in
21
     this case, except that he will agree to be personally present for any plea, sentencing or jury trial,
22
     and he agrees to be personally present in court when so ordered.
23
            Defendant VLADISLAV ATAMANYUK hereby requests the court to proceed in his
24
     absence. Defendant agrees that his interests will be deemed represented at all times by the
25
     presence of his undersigned attorney, the same as if he were personally present. Defendant
26
     further agrees to be present in court ready for trial on any date set by the court in his absence.
27
            Defendant further acknowledges that he has been informed of his rights under the
28




                                    Waiver of Defendant’s Appearance
      Case 2:14-cr-00198-TLN Document 29 Filed 01/23/15 Page 2 of 2


 1   Speedy Trial Act (Title 18 U.S.C. Sections 3161 – 3174), and he has authorized his
 2   undersigned attorney to set times for hearings and to agree to delays under the provisions of the
 3   Speedy Trial Act without him being personally present.
 4

 5

 6
     Dated: January 22, 2015                              Respectfully submitted,
 7

 8

 9                                                        /s/ Vladislav Atamanyuk______________
                                                          VLADISLAV ATAMANYUK
10
                                                          Defendant
11

12
                                                          _/s/ Chris Cosca ___________________
13
                                                          CHRIS COSCA
14                                                        Attorney for Defendant,
                                                          VLADISLAV ATAMANYUK
15

16
                                                 ORDER
17

18
            IT IS SO ORDERED.
19

20

21   Dated: January 23, 2015
22
                                                            Troy L. Nunley
                                                            United States District Judge
23

24

25

26

27

28




                                   Waiver of Defendant’s Appearance
